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                             UNITED STATES DISTRICT COURT
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                                  CIVIL MINUTES – GENERAL

   Case No. 8:17-cv-01605-JLS-DFM                                       Date: April 22, 2019
   Title: Antonio Hurtado et al. v. Rainbow Disposal Co., Inc. Employee Stock Ownership Plan
          Committee et al.

   Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

           Terry Guerrero/Rolls Royce Paschal                             N/A
           Deputy Clerk                                              Court Reporter

   ATTORNEYS PRESENT FOR PLAINTIFF:                ATTORNEYS PRESENT FOR DEFENDANT:

            Not Present                                              Not Present

   PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING PLAINTIFFS’
                MOTION FOR CLASS CERTIFICATION (Doc. 143)

          Before the Court is a Motion for Class Certification filed by Plaintiffs Antonio
   Hurtado, Christopher Ortega, Jose Quintero, Maritza Quintero, Jorge Urquiza, and Maria
   Valadez. (Mot., Doc. 143; Mem., Doc. 139-1.1) Defendants filed a consolidated
   opposition. (Opp., Doc. 150.) Plaintiffs replied. (Reply, Doc. 174.) On March 22,
   2019, the Court held a hearing on the Motion. Having taken the matter under submission
   and considered the parties’ briefs and oral argument, the Court GRANTS the Motion.

   I.      BACKGROUND

            A.    The Rainbow ESOP

          Defendant Rainbow Disposal Co., Inc. (“Rainbow”), formed in 1970, was
   primarily engaged in the transport and disposal of trash and rubbish materials from
   residential and commercial properties. (Second Amended Complaint, Doc. 153 ¶ 49.)

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     The Court struck Plaintiffs’ first filing of the Motion for defects in the Notice of Motion.
   (Order re Striking, Doc. 141.) Upon cure of such defects, however, the Court deemed the initial
   filing timely. (Order re Amended Notice, Doc. 145.) Hence, all documents and attachments
   submitted with the first filing are properly before the Court despite the electronic docket
   indicating that such documents are struck. (See First Notice of Motion, Doc. 139.)

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   Rainbow’s articles of incorporation, as amended in 2004, provided that all outstanding
   shares of Rainbow’s capital stock were to be owned by: “(a) employees of the
   Corporation (or a subsidiary of the Corporation); (b) any trust, partnership or limited
   liability company with respect to which an employee of the Corporation (or a subsidiary
   of the Corporation) is treated as the owner of such shares for federal income tax
   purposes; (c) the Corporation’s Employee Stock Ownership Plan and Trust; and/or (d)
   individuals or entities receiving such shares as a benefit distribution pursuant to the
   provisions of the Corporation’s Employee Stock Ownership Plan and Trust (provided that
   such individuals or entities must immediately resell such shares to the Corporation).”
   (2004 Certificate of Amendment, Doc. 139-4 ¶ 3.)
           Plaintiffs are vested participants and beneficiaries of the Rainbow Disposal Co.,
   Inc. Employee Stock Ownership Plan (the “ESOP”). (Hurtado Decl., Doc. 139-25 ¶ 3;
   Ortega Decl., Doc. 139-27 ¶ 3; M. Quintero Decl., Doc. 139-29 ¶ 2; J. Quintero Decl.,
   Doc. 139-31 ¶ 3; Urquiza Decl., Doc. 139-33 ¶ 3; Valadez Decl., Doc. 139-35 ¶ 3.) The
   ESOP, as restated in 2004, included the following relevant provisions.
           First, the ESOP provided for the establishment of a Trust and appointment of a
   Trustee pursuant to a Trust Agreement. (2004 ESOP, Doc. 139-12 § 2, 17(c); Trust
   Agreement, Doc. 75-10.) The Trust Agreement required that the Trust Assets be held in
   trust by the Trustee and that the Trustee invest those assets as directed by the ESOP
   Committee. (Trust Agreement § A.) Rainbow’s Board of Directors was permitted to
   directly engage the Trustee to act, so long as the Trustee independently determined that
   the Board’s instructions were “fair and reasonable and in the best interests of the
   Participants.” (Id. § B(6).) In 2002, Defendant GreatBanc Trust Company was hired as
   the Trustee of the ESOP pursuant to the Trustee Engagement Agreement. (See Trustee
   Engagement Agreement, Doc. 75-8.)
           Section 5(a) of the ESOP required that the Trust Assets were to be invested by the
   Trustee “primarily (or exclusively) in Company Stock.” (2004 ESOP § 5(a).) Indeed,
   97% of the ESOP’s assets comprised Rainbow stock as of June 30, 2014. (2013 ESOP
   Form 5500, Doc. 139-3 at 11 of Notes to Financial Statements.) Section 5(d) required
   that any sale of stock held by the ESOP “must be made at a price not less than the Fair

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   Market Value as of the date of the sale.” (2004 ESOP § 5(d).) Fair Market Value was in
   turn defined as “[t]he fair market value of Company Stock, as determined by the Trustee
   . . . based upon a valuation by an independent appraiser (within the meaning of Section
   401(a)(28)(C) of the [Internal Revenue] Code).” (Id. § 2.)
            Section 8 provided that ESOP Participants were entitled to direct the Trustee to
   vote their shares of stock on “any corporate matter which involves the voting of such
   shares at a shareholder meeting and which constitutes a merger, consolidation,
   recapitalization, reclassification, dissolution, sale of substantially all assets of a trade or
   business or a similar transaction as specified in regulations under Section 409(e)(3) of the
   [Internal Revenue] Code.” (Id. § 8.) In March 2009, ESOP Participants received a
   Summary Plan Description (“SPD”), which summarized Section 8 as follows: “In certain
   important corporate matters, . . . such as a merger or liquidation of the Company, [ESOP
   Participants] may have the right to decide how shares of Company Stock allocated to
   your Company Stock Account will be voted.” (2009 SPD Part 1, Doc. 139-13 at 5.)
            Section 17 governed administration of the ESOP and designated Rainbow as the
   Plan Administrator. (See 2004 ESOP § 17(h).) Subsection (a) provided that the ESOP
   Committee, appointed by Rainbow’s Board of Directors, would serve as a fiduciary of
   the ESOP with authority to control and manage its operation and administration. (Id. §
   17(a).) Subsection (c) provided that the ESOP Committee was responsible for directing
   the Trustee as to the investment of the Trust Assets. (Id. § 17(c).) Finally, subsection (g)
   provided that Rainbow would “indemnify each member of the Committee (to the extent
   permitted by law) against any personal liability or expense . . . resulting from his service
   on the Committee, except such liability or expense as may result from his own willful
   misconduct.” (Id. § 17(g).)

          B.     The Dispute

          On August 25, 2014, Defendant Gerald Moffatt, then Executive Chairman of
   Rainbow, executed Amendment 4 to the ESOP, which provided that “the Trustee shall
   have the discretionary authority (without directions from the ESOP Committee, the Board

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   of Directors or any other party) to: (i) sell all or substantially all of the outstanding shares
   of the Company to a third party in a change of control transaction, and (ii) execute and
   deliver instruments to effect such a sale.” (Amendment 4 to ESOP, Doc. 139-9.) On
   October 1, 2014, pursuant to authorization by the Rainbow Board of Directors, all stock
   in the ESOP was sold to Defendant Republic Services, Inc. (See Consent of Directors,
   Doc. 139-10; Republic Press Release, Doc. 139-7.) ESOP Participants were not given an
   opportunity to vote on the sale. (See ESOP Participant Decls., Doc. 168-7.)
           On October 3, 2014, Plaintiffs and other ESOP Participants received a letter
   signed by GreatBanc, which stated that “all of the stock in the ESOP had been sold to
   Republic” pursuant to a “lengthy sale process in which the Company sought and received
   substantial offers from multiple bidders.” (October 3, 2014 Letter re Sale; Doc. 139-11.)
   The letter also advised ESOP Participants that they would receive “75% of their closing
   cash allocation” and that the remaining 25% would be distributed upon the IRS’s
   approval of termination of the ESOP. (Id.)
           On October 17, 2014, ESOP Participants received another letter stating that the
   ESOP’s stock had been sold at a price of $17.66 per share and that ESOP Participants
   would receive the “cash equivalents for stock allocated to them” in three separate
   payments over the course of three years. (October 17, 2014 Letter re Sale, Doc. 139-20
   at 1.) The $17.66 share price was subject to reduction “by any liabilities that are
   identified . . . by the ESOP’s Trustee for ESOP Expenses.” (Id.) During the three-year
   payment period, nearly $15 million in undisbursed ESOP assets were left in undiversified
   cash-equivalents. (2016 Form 5500 at Schedule H., Doc. 139-21.) Ultimately, after all
   distributions were made, Plaintiffs allege they received approximately $15 per share.
   (SAC ¶¶ 200-205.)
           On September 15, 2017, Plaintiffs filed the instant action. (See Compl., Doc. 1.)
   The operative Second Amended Complaint brings fourteen causes of action against pre-
   sale ESOP fiduciaries, post-sale ESOP fiduciaries, and Republic for their respective roles
   in alleged violations of the Employee Retirement Income Security Act of 1974, as



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   amended (“ERISA”), 29 U.S.C. § 1001 et seq., in connection with the October 1, 2014
   sale of ESOP assets to Republic:2

    Count I, breach of fiduciary duty for improper sale of ESOP assets, against certain pre-
                sale fiduciaries (SAC ¶¶ 206-223);
    Count II, breach of fiduciary duty for failing to require an ESOP Participant vote on the
                sale to Republic, against certain pre-sale fiduciaries (id. ¶¶ 224-240);
    Count III, failure to provide an adequate SPD, against certain pre-sale fiduciaries (id. ¶¶
                241-249);
    Count IV, breach of fiduciary duty for failure to disclose to ESOP Participants certain
                aspects of the sale to Republic, against certain pre-sale fiduciaries (id. ¶¶
                250-258);
    Count V, engaging in conflicting transactions, against certain pre-sale fiduciaries (id. ¶¶
                259-267);
    Count VI, engaging in conflicting transactions, against certain pre-sale fiduciaries (id.
                ¶¶ 268-278);
    Count VII, engaging in conflicting transactions, against a certain pre-sale fiduciary (id.
                ¶¶ 279-285);
    Count VIII, breach of fiduciary duty for failure to manage a chose in action, against
                certain pre-sale fiduciaries (id. ¶¶ 286-301);
    Count IX, failure to provide documents upon request, against certain post-sale
                fiduciaries (id. ¶¶ 302-316);
    Count X, breach of fiduciary duty for failure to properly invest ESOP assets, against
                certain post-sale fiduciaries (id. ¶¶ 317-333);
    Count XI, breach of duty to monitor, against certain pre-sale fiduciaries and against
                certain post-sale fiduciaries (id. ¶¶ 334-345);


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     The First Amended Complaint was the operative pleading when this Motion was filed. During
   the pendency of this Motion, the Court granted Plaintiffs’ unopposed Motion for Leave to
   Amend the Complaint, in which Plaintiffs sought only to add newly identified ESOP fiduciaries
   as Defendants. (See Order re Leave to Amend, Doc. 152.) The amendments did not alter the
   substance of the allegations, causes of action, or other aspects of the pleading relevant to the
   instant Motion.
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    Count XII, co-fiduciary liability, against certain pre-sale fiduciaries and against certain
              post-sale fiduciaries (id. ¶¶ 346-356);
    Count XIII, knowing participation in breaches of fiduciary duties and prohibited
              transactions, against Republic (id. ¶¶ 357-367);
    Count XIV, invalidity and unenforceability of certain indemnity provisions of the
              ESOP, against certain pre-sale fiduciaries and against certain post-sale
              fiduciaries (id. ¶¶ 368-376).

          Plaintiffs now seek certification of the following class pursuant to Federal Rule of
   Civil Procedure 23:

          All persons who were vested participants in the Rainbow Disposal Co., Inc.
          Employee Stock Ownership Plan as of October 1, 2014 and the beneficiaries
          of any such participants[,] . . . [excluding] Defendants and persons who were
          named fiduciaries of the Rainbow ESOP, who are alleged to have engaged
          in prohibited transactions or breaches of corporate fiduciary duties, or who
          had decision-making or administrative authority relating to the
          administration, modification, funding, or interpretation of the Rainbow
          ESOP, or relating to the decision to sell Rainbow.

   (Mot. at 1.) Plaintiffs seek certification of the proposed class with respect to all causes of
   action except Count IX. (Id. at 2.) Defendants oppose certification except as to Counts I
   and X. (Id. at 3; Opp. at 10.)
          Plaintiffs also ask the Court to appoint them as Class Representatives, and to
   appoint Joseph Barton of Block & Leviton LLP and Joseph A. Creitz of Creitz & Serebin
   LLP as Class Counsel. (Mem. at 12-16.)

   II.    LEGAL STANDARD

          “A party seeking class certification must satisfy the requirements of Federal Rule
   of Civil Procedure 23(a) and the requirements of at least one of the categories under Rule
   23(b).” Wang v. Chinese Daily News, Inc., 737 F.3d 538, 542 (9th Cir. 2013). Rule
   23(a) “requires a party seeking class certification to satisfy four requirements:
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   numerosity, commonality, typicality, and adequacy of representation.” Id. (citing Wal-
   Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349 (2011)). Rule 23(a) provides:

             One or more members of a class may sue or be sued as representative
             parties on behalf of all members only if:
             (1) the class is so numerous that joinder of all members is impracticable;
             (2) there are questions of law or fact common to the class;
             (3) the claims or defenses of the representative parties are typical of the
                 claims or defenses of the class; and
             (4) the representative parties will fairly and adequately protect the
                 interests of the class.

   Fed. R. Civ. P. 23(a).
           “Second, the proposed class must satisfy at least one of the three requirements
   listed in Rule 23(b).” Dukes, 546 U.S. at 345. Here, Plaintiffs seek class certification
   under Rule 23(b)(1), which permits maintenance of a class action if prosecution of
   separate actions by individual class members would create a risk of:

             (A) inconsistent or varying adjudications with respect to individual class
                 members that would establish incompatible standards of conduct for
                 the party opposing the class; or
             (B) adjudications with respect to individual class members that, as a
                 practical matter, would be dispositive of the interests of the other
                 members not parties to the individual adjudications or would
                 substantially impair or impede their ability to protect their interests.

   Fed. R. Civ. P. 23(b)(1). 3
           “Rule 23 does not set forth a mere pleading standard. A party seeking class
   certification must affirmatively demonstrate his compliance with the Rule—that is, he

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       Plaintiffs move in the alternative for certification under either Rule 23(b)(1), (2), or (3).
   (Mem. at 16-25.) The Court finds Rule 23(b)(1) most appropriate here, and so proceeds
   with analysis under that framework. See infra, III.D.
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   must be prepared to prove that there are in fact sufficiently numerous parties, common
   questions of law or fact, etc.” Dukes, 564 U.S. at 350. This requires a district court to
   conduct a “rigorous analysis” that frequently “will entail some overlap with the merits of
   the plaintiff’s underlying claim.” Id. at 351.

   III.   DISCUSSION

          A.     Standing

          As a preliminary matter, Defendants ask the Court to revisit their challenge to
   Plaintiffs’ Article III standing to bring Count II. (Opp. at 29.) The Court declined to
   resolve this issue at the pleading stage, noting that “measuring losses to an ERISA plan
   requires reference to ‘expert testimony or other evidence regarding investment returns
   during the relevant period.’” (Order re MTD, Doc. 110 at 12 (quoting DeFazio v.
   Hollister, 636 F. Supp. 2d 1045, 1073 (E.D. Cal. 2009)).) Defendants argue that
   Plaintiffs—now with the benefit of discovery—are unable to show a redressable harm.
   (Opp. at 30-31.) Specifically, Defendants point out that a decision by the Court granting
   Plaintiffs’ requested relief—an opportunity to vote on the sale of their shares to
   Republic—would not directly result in Plaintiffs receiving a higher share price because
   such a vote might (1) not reject the existing Republic deal or (2) not otherwise result in a
   more favorable deal. (Id. at 29-30.) Indeed, Defendants contend a re-vote rejecting the
   Republic deal and subsequent sale to a different buyer is likely to result in Plaintiffs
   receiving less money for their shares. (Id. at 30.)
          Plaintiffs respond that Article III standing does not require financial injury.
   (Reply at 32.) They aver that fiduciary breaches and deprivation of process are Article III
   injuries and are squarely redressable by the injunctive relief sought. (Id. at 32-33.) The
   Court agrees. The Ninth Circuit has directly addressed this question and held that
   economic loss is not a pillar of standing for ERISA plaintiffs seeking injunctive relief to
   remedy fiduciary breaches. Shaver v. Operating Engineers Local 428 Pension Trust
   Fund, 332 F.3d 1198, 1203 (9th Cir. 2003) (“Requiring a showing of loss in such a case
   would be to say that the fiduciaries are free to ignore their duties so long as they do no
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   tangible harm, and that the beneficiaries are powerless to rein in the fiduciaries’
   imprudent behavior until some actual damage has been done. This result is not supported
   by the language of ERISA, the common law, or common sense.”). Therefore, despite
   having not submitted evidence of economic loss, Plaintiffs continue to enjoy standing
   even as the Second Amended Complaint seeks only equitable relief. (See SAC ¶¶ 45,
   377-378, A-P.)

          B.     Merits

           As a second preliminary matter, Defendants ask the Court to deny certification
   based on purported deficiency of the merits of Plaintiffs’ claims. (Opp. at 21.)
   Defendants quote Ellis v. Costco Wholesale Corp., 657 F. 3d 970, 980-981 (9th Cir.
   2011) for the propositions that “evaluation of many of the questions entering into
   determination of class action questions is intimately involved with the merits of the
   claims” and “[a] district court must consider the merits if they overlap with the Rule 23(a)
   requirements.” (Id. (internal quotation marks omitted).) Ellis, however, is not an open
   invitation to convert any motion for class certification into a motion for summary
   judgment. Rather, Ellis describes how in many cases—but not every case—evaluation of
   the merits is necessary because the merits inquiry overlaps with the class certification
   inquiry. Ellis, 657 F. 3d at 980-981.
           The facts of Ellis are illustrative of this point. There, the Ninth Circuit noted
   that “the question of commonality overlaps with [p]laintiffs’ claim that [her employer]’s
   system of promotion and corporate culture constitutes a pattern or practice of [gender]
   discrimination.” Id. at 980. That is, evidence of a high prevalence of gender bias at a
   company demonstrates both common experiences of employees at that company, a class
   certification question, and that the company unlawfully condones discrimination, a merits
   question. See id. at 982. Here, in contrast, there are no questions of the extent of conduct
   that may amount to liability. Each cause of action is premised on allegations of discrete
   instances of conduct that either are or are not lawful. Besides their misdirected citation to
   Ellis, Defendants do not attempt to demonstrate overlap of the merits and class

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certification inquiries in this action. Instead, Defendants repeatedly ask the Court to
revisit its prior Order denying Defendants’ Motion to Dismiss using a heightened
evidentiary standard. (Opp. at 21-28.)
        Defendants’ citation to Ramirez v. United Rentals, Inc., 2013 WL 2646648 (N.D.
Cal. June 12, 2013)—for the proposition that courts should refuse to certify clearly
meritless claims—is even further misplaced. (Id. at 21.) There, the court declined to
certify a claim that the plaintiff raised for the first time in his moving papers and was also
foreclosed as a matter of law. Ramirez, 2013 WL 2646648 at *6. Here, as on most
motions for class certification, Plaintiffs’ claims are well-pleaded and have already been
found by the Court to adequately state claims for relief. (See Order re MTD.)
        Accordingly, the Court declines to undertake an independent foray into the merits
of Plaintiffs’ claims beyond any limited examination of the merits necessary to the
following class certification analysis.

       C.     Rule 23(a) Requirements

              1.     Numerosity

       Rule 23(a)(1) requires that the class be “so numerous that joinder of all members
is impracticable.” Fed. R. Civ. P. 23(a)(1). In general, “classes of forty or more are
considered sufficiently numerous.” Delarosa v. Boiron, Inc., 275 F.R.D. 582, 587 (C.D.
Cal. 2011) (citations and internal quotation marks omitted). “Plaintiffs need not state the
exact number of potential class members, nor is there a bright-line minimum threshold
requirement.” Tawfilis v. Allergan, Inc., 2017 WL 3084275, at *8 (C.D. Cal. June 26,
2017).
       Here, Plaintiffs submit evidence that there were 460 ESOP Participants as of
November 2014. (2014 Form 5310 Part 1, Doc. 139-16 at 4.) The total number of
proposed class members is presumably greater than 460 because the proposed class also
includes ESOP Participants’ beneficiaries. Defendants do not contest that Plaintiffs meet
the numerosity requirement.

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       Accordingly, the numerosity requirement is met.

              2.     Commonality

        Rule 23(a)(2) requires that “there are questions of law or fact common to the
class.” Fed. R. Civ. P. 23(a)(2). “Commonality requires the plaintiff to demonstrate that
the class members have suffered the same injury.” Dukes, 564 U.S. at 349-50 (citation
and internal quotation marks omitted). The plaintiff must allege that the class’s injuries
“depend upon a common contention” that is “capable of classwide resolution.” Id. at
350. In other words, the “determination of [the common contention’s] truth or falsity will
resolve an issue that is central to the validity of each one of the claims in one stroke.” Id.
“What matters to class certification . . . is not the raising of common questions—even in
droves—but, rather the capacity of a classwide proceeding to generate common answers
apt to drive the resolution of the litigation.” Id. (citation and internal quotation marks
omitted) (emphasis in original). Rule 23(a)(2) is met so long as there is “a single
significant question of law or fact” common to the class. Abdullah v. U.S. Sec. Assocs.,
Inc., 731 F.3d 952, 957 (9th Cir. 2013) (quoting Mazza v. Am. Honda Motor Co., Inc.,
666 F.3d 581, 589 (9th Cir. 2012)) (internal quotation marks omitted); accord Dukes, 564
U.S. at 359.
        Plaintiffs posit that the following common questions are capable of resolution on a
classwide basis: whether certain fiduciaries breached their duties under ERISA or the
ESOP in connection with the sale of stock; whether certain fiduciaries failed to conduct a
vote as required by the ESOP; whether the 2009 SPD violated ERISA by failing to
adequately disclose ESOP Participants’ right to vote in terms that the average ESOP
Participant would understand; whether certain fiduciaries breached their fiduciary duties
under ERISA by failing to make sufficient disclosures about their benefits derived from
the sale of stock; whether certain fiduciaries engaged in personal transactions prohibited
by ERISA; whether certain fiduciaries breached their duties by failing to bring,
investigate, or disclose to the valuator potential claims against certain corporate or
ERISA fiduciaries; whether certain fiduciaries breached their duties by imprudently

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investing the ESOP’s assets; whether any of the fiduciary Defendants are liable for the
conduct of their co-fiduciaries under ERISA; whether Republic knowingly participated
in any fiduciary breaches or violations of the ESOP; and whether indemnification
provisions benefiting certain fiduciaries are void. (Mem. at 8-9.)
        Defendants contest commonality as to Counts II-IV. (Opp. at 32.) Specifically, as
to Count II, Defendants argue that Plaintiffs cannot show evidence of an injury, common
or otherwise, based on Plaintiffs’ inability to vote on the Republic deal. (Id.) As to
Counts III and IV, Defendants argue that Plaintiffs’ disclosure-based claims require a
showing of detrimental reliance and that such a showing must be made on an
individualized basis. (Id. at 33-34.) Defendants do not provide argument as to the
remaining causes of action.
        The Court has already addressed Plaintiffs’ standing to bring Count II and
Defendants’ recycled argument carries no additional weight under the heading of
commonality. See supra, III.A. Concerning the purported need for a showing of
detrimental reliance at this stage, Defendants ignore clear direction from the Ninth
Circuit that “where the defendant’s representations were allegedly made on a uniform and
classwide basis, individual issues of reliance do not preclude class certification” in
ERISA cases. Moyle v. Liberty Mutual Retirement Benefit Plan, 823 F.3d 948, 964-65
(9th Cir. 2016) (citing Hanon v. Dataproducts Corp., 976 F.2d 497, 509 (9th Cir.1992)).
Hence, the key question is whether the disclosures or nondisclosures at issue were made
or not made on a classwide basis.
        Count III alleges improper disclosures and nondisclosures only in the 2009 SPD.
(SAC ¶¶ 245-248.) There is no dispute that the 2009 SPD was uniformly distributed on a
classwide basis. Count IV alleges primarily, if not exclusively, improper nondisclosures.
(Id. ¶ 255(a)-(n).) “Unlike instances of affirmative misrepresentation where it can be
demonstrated that the injured party relied upon affirmative statements, in instances of
total non-disclosure . . . it is of course impossible to demonstrate reliance.” Titan Group,
Inc. v. Faggen, 513 F.2d 234, 239 (2d Cir. 1975). In the Ninth Circuit, there may be a
presumption of classwide reliance if “the case can be characterized as one that primarily
alleges omissions.” Binder v. Gillespie, 184 F.3d 1059, 1064 (9th Cir. 1999). The Court

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finds that reasoning applicable here, as it would be impossible for Plaintiff to offer
affirmative proof of classwide nondisclosure. Rather, the burden is on Defendant to
show that commonality is otherwise disrupted by virtue of some proposed class members
in fact having received adequate disclosures on an individualized basis.
         Toward this burden, Defendants’ proffer only certain communications made to
Plaintiff Ortega on December 10, 2014 and February 17, 2015. (December 2014 Letter
to Ortega, Doc. 150-7; February 2015 Letter to Ortega, Doc. 150-22.) But Defendants do
not explain how these communications address the nondisclosures alleged in Count IV or
are otherwise relevant to that claim. Indeed, the Court does not find any of the allegedly
lacking information in Defendants’ submitted evidence. Moreover, the bulk of the
allegations in Count IV regard disclosures that should have been made prior to the
October 2014 sale. Hence, even if the letters showed that information allegedly
undisclosed at the time of the October 2014 sale was later provided on an individualized
basis, such after-the-fact individualized disclosure would not affect the commonality of
pre-sale nondisclosure to ESOP Participants.
         Accordingly, the Court concludes that Plaintiffs’ proffered common questions
satisfy Rule 23(a)(2). “Resolution of those questions in Defendants’ favor will terminate
this litigation in their favor, while resolution against Defendants will likely establish their
liability, with only the issue of [relief] to be determined.” Urakhchin v. Allianz Asset
Management of America, L.P., 2017 WL 2655678, at *4 (C.D. Cal. June 15, 2017).
Here, “the common focus is on the conduct of Defendants . . . Plaintiffs’ claims do not
focus on injuries caused to each individual [ESOP Participant], but rather on how the
Defendants’ conduct affected the pool of assets that make up the [ESOP].” Kanawi v.
Bechtel Corp., 254 F.R.D. 102, 109 (N.D. Cal. 2008). Thus, the commonality
requirement is met.

              3.      Typicality

       Rule 23(a)(3) requires “the claims or defenses of the representative parties [to be]
typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “The typicality

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requirement looks to whether the claims of the class representatives [are] typical of those
of the class, and [is] satisfied when each class member’s claim arises from the same
course of events, and each class member makes similar legal arguments to prove the
defendant’s liability.” Rodriguez v. Hayes, 591 F.3d 1105, 1124 (9th Cir. 2010) (citation
and internal quotation marks omitted).
       Plaintiffs’ claims are typical of the proposed class because they focus on the
conduct of Defendants as to the ESOP as a whole and not on conduct specific to any
particular Plaintiff. See Marshall v. Northrop Grumman Corp., 2017 WL 6888281, at *7
(C.D. Cal. Nov. 2, 2017). Nothing in the record indicates that Plaintiffs were harmed by
Defendants in any way other than by alleged misconduct with respect to the ESOP that
affected all ESOP Participants with equal force. Conversely, Defendants do not raise
defenses unique to any one Plaintiff. Indeed, Defendants do not distinguish Plaintiffs’
circumstances from other ESOP Participants and beneficiaries other than again noting
that Plaintiff Ortega received certain communications after the October 2014 sale, which
Defendants argue destroys his typicality with respect to Count IV. (Opp. at 35.) As with
commonality, however, Defendants do not explain how Ortega’s receipt of these after-
the-fact communications alter the nature of his pre-sale claims compared to other ESOP
Participants.
       Accordingly, the Court finds typicality is satisfied here.

              4.     Adequacy

        Rule 23(a)(4) permits certification of a class action only if “the representative
parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P.
23(a)(4). “Resolution of two questions determines legal adequacy: (1) do the named
plaintiffs and their counsel have any conflicts of interest with other class members, and
(2) will the named plaintiffs and their counsel prosecute the action vigorously on behalf
of the class?” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998).



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                       i.      Class Representatives

        The Court first considers whether Plaintiffs have any conflicts with the proposed
class. As noted above, Plaintiffs’ claims are virtually co-extensive with the claims of
proposed class members. Defendants argue, however, that the relief sought by Plaintiffs
under Count II—a new vote on the Republic deal—conflicts with the interests of the
proposed class. (Opp. at 37.) Defendants contend that, “[i]f the “[Republic deal] were
defeated[,] putative class members would need to return any amounts they received for
the ESOP’s stock and the likelihood of their obtaining equal or greater value for their
shares going forward would be slim to none. Few class members presumably would
want to take that risk.” (Id.) But such presumed “intra-class conflict[s] are too
speculative to defeat class certification.” Urakhchin, 2017 WL 2655678, at *6. “[S]uch
a conflict necessarily depends on what kind of relief is ultimately awarded by the Court,
and the Ninth Circuit has stated on more than one occasion that potential future conflicts
are insufficient to deny class certification.” Id. at *5. Defendants have submitted no
evidence suggesting that proposed class members are opposed to Plaintiffs’ requested
relief. Moreover, Defendants do not provide authority to support the notion that different
preferences in the ultimate relief desired by various class members create a legally
cognizable “conflict.” Rather, where “[Plaintiffs’] interests are completely aligned with
the class regarding the central issue” in the case, Plaintiffs satisfy the adequacy
requirement. Barnes v. AT&T Pension Benefit Plan, 270 F.R.D. 488, 495 (N.D. Cal.
2010). Remedies aside, the central issue in this case is whether the ESOP has been
lawfully administered. On this fundamental issue, Plaintiffs’ interest in prevailing on the
merits is coextensive with the interests of proposed class members.4


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  Defendants also contend that possible infeasibility of Plaintiffs’ requested injunctive relief, i.e.,
actually or constructively unwinding the October 2014 sale, somehow creates conflict with
potential class members. (Opp. at 38-39.) The Court cannot connect the dots of this argument.
First, the Court already addressed and condoned the propriety of Plaintiffs’ requested injunctive
relief at the pleading stage. (Order re MTD at 26-27.) Moreover, it is unclear how the overall
feasibility of certain relief as administered on a classwide basis creates a conflict within the
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        Plaintiffs represent that they will vigorously prosecute the claims on behalf of the
proposed class. (Mem. at 14.) “[T]he Ninth Circuit ‘has never imposed a knowledge
requirement on proposed class representatives.’” Urakhchin, 2017 WL 2655678, at *6
(quoting Tibble v. Edison International, 2009 WL 6764541, at *6 (C.D. Cal. June 30,
2009)). To do so would be especially inappropriate “in a case such as this involving
complicated matters of ERISA law.” Tibble, 2009 WL 6764541, at *6. Plaintiffs
nonetheless attest that they understand the basic contours of the case and have been
actively engaged in the litigation, including providing documents to counsel used to draft
the pleadings, participating in discovery by verifying answers to interrogatories, and
searching for documents responsive to requests for production. (Hurtado Decl. ¶¶ 4-5,
10; Ortega Decl. ¶¶ 4-5, 10; J. Quintero Decl. ¶¶ 4-5, 10; M. Quintero Decl. ¶ 3-4, 9;
Urquiza Decl. ¶¶ 4-5, 10; Valadez Decl. ¶¶ 4-5, 10.) Plaintiffs further attest that they
understand and are prepared to carry out the duties of class representatives. (Hurtado
Decl. ¶¶ 6-9, 11; Ortega Decl. ¶¶ 6-9, 11; J. Quintero Decl¶¶ 6-9, 11; M. Quintero Decl. ¶
5-8, 10; Urquiza Decl. ¶¶ 6-9, 11; Valadez Decl. ¶¶ 6-9, 11.) Defendants do not contest
Plaintiffs’ adequacy with respect to vigorous prosecution.
        The Court therefore concludes that Plaintiffs “will fairly and adequately protect
the interests of the class.” Fed. R. Civ. P. 23(a)(4).

                     ii.    Class Counsel

       As to the adequacy of Plaintiffs’ counsel, the Court must consider:

       (i) the work counsel has done in identifying or investigating potential claims
       in the action;
       (ii) counsel’s experience in handling class actions, other complex litigation,
       and the types of claims asserted in the action;
       (iii) counsel’s knowledge of the applicable law; and
       (iv) the resources that counsel will commit to representing the class.

proposed class. Such renewed arguments of redressability are better reserved for summary
judgment.
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Fed. R. Civ. P. 23(g)(1)(A).
        Plaintiffs submit declarations setting forth the qualifications of their proposed
class counsel, Joseph Barton of Block & Leviton LLP and Joseph A. Creitz of Creitz &
Serebin LLP.5 (Barton Decl., Doc. 139-22; Creitz Decl., Doc. 139-24.) Each has
extensive experience litigating complex ERISA class actions. (See Barton Decl. ¶¶ 2-8;
Creitz Decl. ¶¶ 4-7, 11.) Moreover, the record reflects ample work undertaken and
resources devoted by Plaintiffs’ counsel to investigate and prosecute Plaintiffs’ claims in
this action. Finally, Defendants do not contest the adequacy of Barton and Creitz.
(Mem. at 15.)
        Accordingly, the Court finds that Plaintiffs’ counsel, Barton and Creitz, “will
fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(g)(1)(B).

         D.    Rule 23(b) Requirements

         In addition to establishing the elements of Rule 23(a), Plaintiffs must also satisfy
one of the three subsections of Rule 23(b). Fed. R. Civ. P. 23(b). Plaintiffs’ contend that
the proposed class is certifiable under Rule 23(b)(1), (2), and (3). (Mem. at 16-25.)
“Classes certified under [Rule 23](b)(1) . . . share the most traditional justifications for
class treatment—that individual adjudications would be impossible or unworkable.”
Dukes, 564 U.S. at 361. “Most ERISA class action cases are certified under Rule
23(b)(1).” In re Northrop Grumman ERISA Litigation, 2011 WL 3505264, at *15 (C.D.
Cal. Mar. 29, 2011) (quoting Kanawi, 254 F.R.D. at 111). “ERISA [fiduciary] litigation
. . . presents a paradigmatic example of a (b)(1) class.” Kanawi, 254 F.R.D. at 112
(citation and internal quotation marks omitted).
         A class action may be maintained under Rule 23(b)(1) if prosecution of separate
actions by individual class members would create a risk of:


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  Plaintiffs’ Motion suggests they also seek appointment of Barton and Creitz’s respective firms
as class counsel. (Mem. at 15.) However, “[t]he Court cannot analyze the qualifications of as-
yet unidentified attorneys at a law firm, and for that reason, appoints lawyers, not law firms as
class counsel.” Urakhchin, 2017 WL 2655678, at *7.
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       (A) inconsistent or varying adjudications with respect to individual class
           members that would establish incompatible standards of conduct for
           the party opposing the class; or
       (B) adjudications with respect to individual class members that, as a
           practical matter, would be dispositive of the interests of the other
           members not parties to the individual adjudications or would
           substantially impair or impede their ability to protect their interests.

Fed. R. Civ. P. 23(b)(1). “Rule 23(b)(1)(A) considers possible prejudice to a defendant,
while 23(b)(1)(B) looks to prejudice to the putative class members.” Kanawi, 254 F.R.D.
at 111. Here, the Court finds the proposed class certifiable under either standard.

              1.     Rule 23(b)(1)(A)

       “Rule 23(b)(1)(A) comes into play when a party is obligated by law to treat the
members of a class in a like manner.” Alday v. Raytheon Co., 619 F. Supp. 2d 726, 736
(D. Ariz. 2008) (citing Amchem Products Inc. v. Windsor, 521 U.S. 591, 614 (1997)).
“Rule 23(b)(1)(A) prevents the prosecution of separate actions that would create the risk
of inconsistent or varying adjudications . . . that would establish incompatible standards
of conduct for the party opposing the class.” Moyle, 823 F.3d at 965 (internal quotation
marks omitted).
       Plaintiffs aver that “[s]eparate lawsuits have the potential for conflicting decisions
that would make uniform administration of the [ESOP] impossible.” (Mem. at 17.) The
Court agrees. As another court in this district recently explained:

       certification under 23(b)(1)(A) is appropriate because the primary issues
       presented here hinge on proper interpretation of the [ESOP]; there is a risk,
       then, that the prosecution of separate actions would result in inconsistent
       outcomes resulting from incompatible interpretations of the [ESOP].
       Inconsistent interpretations of the [ESOP] in multiple individual actions


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       could and would lead to an unclear set of standards of conduct for Defendants
       moving forward.

Tom v. Com Dev USA, LLC, 2017 WL 8236268, at *5 (C.D. Cal. Sept. 18, 2017). That
is, Defendants’ liability or lack thereof is likely dependent on judicial interpretation of the
parties’ rights, powers, and obligations pursuant to the ESOP. Conflicting interpretations
by separate tribunals could result in countervailing directives to the ESOP fiduciaries.
This is especially true, as here, where Plaintiffs seek primarily equitable relief.
       Accordingly, the Court finds the proposed class satisfies the requirements of Rule
23(b)(1)(A).

              2.     Rule 23(b)(1)(B)

        Rule 23(b)(1)(B) “is concerned only with the rights of unnamed class members,
not with the rights of [the defendants].” McDonnell-Douglas Corp. v. U.S. Dist. Court
for Central Distr. of Cal., 523 F.2d 1083, 1086 (9th Cir. 1975). The rule covers cases in
which judgment in an individual action “inescapably will alter the substance of the rights
of others having similar claims.” La Mar v. H & B Novelty & Loan Co., 489 F.2d 461,
467 (9th Cir. 1973). A “classic” example of such a case is one charging “a breach of trust
by an indenture trustee or other fiduciary similarly affecting the members of a large class
of beneficiaries, requiring an accounting or similar procedure to restore the subject of the
trust.” Ortiz v. Fibreboard Corp., 527 U.S. 815, 833-34 (1999) (citation and internal
quotation marks omitted). In such a case, “the shared character of rights claimed or relief
awarded entails that any individual adjudication by a class member disposes of, or
substantially affects, the interests of absent class members.” Id. at 834.
        “Were the proposed class members to seek [injunctive] relief in individual actions
against Defendants, a judgment in any one action would necessarily affect the rights and
interests of the other class members. Because Defendants cannot manage the [ESOP] in
an individualized fashion for each [ESOP] [P]articipant, whatever injunctive relief an
individual plaintiff obtains would be applied to the [ESOP] as a whole.” Urakhchin,
2017 WL 2655678, at *8. A judgment for or against one ESOP Participant that unwinds
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the Republic deal, orders a new vote on that deal, affirms the deal, or otherwise rules on
the ESOP’s entitlement to certain funds or assets plainly affects the rights of all ESOP
Participants and their beneficiaries.
       Accordingly, the Court finds the proposed class satisfies the requirements of Rule
23(b)(1)(B).6

IV.      CONCLUSION

         For the foregoing reasons, the Court GRANTS the Motion for Class Certification.
      1. The following Rule 23(b)(1) class is CERTIFIED:

         All persons who were vested participants in the Rainbow Disposal Co., Inc.
         Employee Stock Ownership Plan as of October 1, 2014 and the beneficiaries
         of any such participants, excluding Defendants and persons who were named
         fiduciaries of the Rainbow Disposal Co., Inc. Employee Stock Ownership
         Plan, who are alleged in this action to have engaged in prohibited transactions
         or breaches of corporate fiduciary duties, or who had decision-making or
         administrative authority relating to the administration, modification, funding,
         or interpretation of the Rainbow Disposal Co., Inc. Employee Stock
         Ownership Plan, or who had such authority relating to the decision to sell
         assets of the Rainbow Disposal Co., Inc. Employee Stock Ownership Plan
         on or about October 1, 2014.

      2. Plaintiffs Antonio Hurtado, Christopher Ortega, Jose Quintero, Maritza Quintero,
         Jorge Urquiza, and Maria Valadez are APPOINTED as Class Representatives.
      3. Joseph Barton of Block & Leviton LLP and Joseph A. Creitz of Creitz & Serebin
         LLP are APPOINTED as Class Counsel.

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  Although it need not reach the issue, for reasons substantially similar to those stated herein, the
Court finds that class certification is also appropriate under Rule 23(b)(2) because Plaintiffs seek
declaratory and injunctive relief premised on Defendants’ alleged actions and inactions toward
the class as a whole. See supra, III.C.2, III.D; Fed. R. Civ. P. 23(b)(2). The Court finds analysis
under Rule 23(b) (3) superfluous.
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